Case 1:22-cr-00106-CJN Document 38 Filed 10/14/22 Page 1of 7

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : NO. 22-cr-106
v. 18 U.S.C. § 231(a)(3)
SHAWN PRICE,
Defendant.

STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant,
Shawn Price, with the concurrence of his attorney, agree and stipulate to the below factual basis
for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate
that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

2. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.
S: On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States
Case 1:22-cr-00106-CJN Document 38 Filed 10/14/22 Page 2 of 7

Senate were meeting in separate chambers of the United States Capitol to certify the vote count
of the Electoral College of the 2020 Presidential Election, which had taken place on November
3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

4, As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

5s At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;
however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

Page 2 of 7
Case 1:22-cr-00106-CJN Document 38 Filed 10/14/22 Page 3 of 7

crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.
Capitol, requiring the expenditure of more than $2.7 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 p.m., members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who
had entered the U.S. Capitol without any security screening or weapons check, Congressional
proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,
and the building had been confirmed secured. The proceedings resumed at approximately 8:00
p.m. after the building had been secured. Vice President Pence remained in the United States
Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

Price’s Participation in the January 6, 2021, Capitol Riot

8. On January 6, 2021, the defendant Shawn Price was a Proud Boy member and
served as Vice President of the local chapter of the Proud Boys. On that day, Price traveled to
Washington, D.C. with 10-12 other members of his local chapter of the Proud Boys. Price and
4-5 of these associates entered the restricted portion of the U.S. Capitol grounds around 1 PM ET
and arrived with a crowd of rioters at the lower west terrace.

9. Price filmed the scene on the lower west terrace in several videos that he uploaded
to his Facebook account. At one point, law enforcement officers deployed chemical irritant and
impact ordinance into the crowd. Price stated: “Look at what these fucking scumbags are

doing!” and “Fuck you assholes! It’s go time guys! Fuck you!” and “You fucking coward, fuck

Page 3 of 7
Case 1:22-cr-00106-CJN Document 38 Filed 10/14/22 Page 4 of 7

you... fuck you!” At another point, while the crowd of rioters was ascending the northern stairs
of the west terrace of the U.S. Capitol Building after breaching the line of law enforcement
officers, he said: “Let’s go... let’s go... let’s go!” and “They thought we couldn’t do it, they
wanted to hold us back, now look at this shit! More tear gas, going in the building. We’re going
anyway, they’re going.”

10. While directly in front of the line of law enforcement officers that was blocking
the entrance to the northern stairs of the west terrace of the U.S. Capitol Building—the line of
officers that was breached later that afternoon—Price said: “I didn’t get this far . . . (inaudible)
...let’s go! Traitors, traitors... .”

11. | At some point while on the lower west terrace, Price put on a pair of goggles.
Around 1:30-1:45 PM ET, Price and several of the Proud Boys associates with whom he had
traveled pushed with a group of individuals into a line of law enforcement officers that was
attempting to restrain the crowd and to hold crowd-control barriers in place. The group that
Price pushed with included indiviudals who grabbed and pushed into the crowd-control barriers
that the officers were using to restrain the crowd. Later that day, Price sent a Facebook message
stating: “... i got really fucked up but me and 4 of my chapter brothers pushed that line and
started it ourselves had to be done.”

12. The officers into which Price pushed were within approximately ten yards of the
smaller, isolated line of officers in front of the northern stairs of the west terrace of the U.S.
Capitol Building, but were unable to reach the isolated group of officers because of the crowd’s
unruliness. As noted earlier, that isolated line of officers was later breached by the crowd,

leading to rioters entering the U.S. Capitol Building through entrances on the west side of the

building.

Page 4 of 7
Case 1:22-cr-00106-CJN Document 38 Filed 10/14/22 Page 5 of 7

13. In pushing against the line of law enforcement officers, Price committed an act to
obstruct, impede, and interfere with those law enforcement officers. Those officers were
lawfully engaged in the lawful performance of their official duties. Price’s act of obstruction
also occurred incident to and during the commission of a civil disorder, and that civil disorder
obstructed, delayed, and adversely affected commerce and the conduct and performance of a
federally protected function. Price also engaged in disorderly and disruptive conduct in a
restricted building or grounds as defined in 18 U.S.C. § 1752(c), and did so at a time when, or so
that, such conduct in fact impeded or disrupted the orderly conduct of government business or
official functions.

14. Later that day, Price was told by another Facebook user that they had seen that
“they stormed the capital [sic],” to which Price replied: “I led the storm!” Price also claimed that
he “g[o]t inside” after “getting tear gassed pepper sprayed and shot with rubber bullets.” Price
also messaged another Facebook user at 4:12 PM ET on January 6, 2021: “We did it bro we took
it the fuck ober [sic]... Over... We are inside the capitol now.” Price later told another user, at
6:11 PM EST: “We took it buddy . . . Me and 3 others stormed it and no one else would until.we

[sic] started then everyome [sic] stormed.”

Respectfully submitted,

MATTHEW M. GRAVES
UNITED STATES ATTORNEY
D.C. Bar Number 481052

By:  /s/ William Dreher
WILLIAM DREHER
D.C. Bar No. 1033828
Assistant United States Attorney (Detailed)
700 Stewart Street, Suite 5220

Page 5 of 7
Case 1:22-cr-00106-CJN Document 38 Filed 10/14/22 Page 6 of 7

Seattle, WA 98101
(206) 553-4579
william.dreher@usdoj.gov

Page 6 of 7
Case 1:22-cr-00106-CJN Document 38 Filed 10/14/22 Page 7 of 7

DEFENDANT’S ACKNOWLEDGMENT

I, Shawn Price, have read this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. [ agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am | under the influence of anything that

Date: /o lh [pL

 

 

Defendant
ATTORNEY’S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of the Offense as true and accurate.

Date: lo |v 22 / x
Hatley Breite

Attorney for Defendant

 

Page 7 of 7
